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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                    MEMORANDUM OPINION
                                                            AND ORDER
Anthony Curtis Harris,                                Crim. No. 15-108(01) (MJD)

      Defendant.



      Amber M. Brennan, Assistant United States Attorney, Counsel for Plaintiff.

      Defendant, pro se.



      This matter is before the Court on Defendant’s pro se motion for early

release under the CARES Act and the First Step Act, or in the alternative, release

to home confinement. (Doc. No. 444)

I.    Background

      On September 10, 2015, Petitioner pleaded guilty to Count 1 of the

Indictment which charged conspiracy to distribute more than 1,000 kilograms of

a mixture and substance containing a detectable amount of marijuana and 500

grams or more of a mixture and substance containing a detectable amount of

cocaine, in violation of 21 U.S.C. '' 841(a)(1), (b)(1)(A), (b)(1)(B) and 846.



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      On February 10, 2016, the Court varied from the applicable guideline

range of 188 to 235 months and sentenced Defendant to a term of imprisonment

of 144 months, followed by a five-year term of supervised release.


II.   Motion for Early Release

      Pursuant to 18 U.S.C. § 3582(c)(1)(A), the court may, upon a defendant’s

motion following exhaustion of administrative remedies or the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier, “reduce the term of imprisonment (and may impose a term

of probation or supervised release with or without conditions that does not

exceed the unserved portion of the original term of imprisonment), after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if it finds that-- (i) extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”

      The applicable policy statement with respect to motions to reduce sentence

is set forth in U.S.S.G. Section 1B1.13. Pursuant to this policy statement, when

deciding a motion for a sentence reduction under § 3582(c), the Court must

determine whether extraordinary and compelling reasons exist to warrant such


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relief, whether the defendant is a danger to the safety of any other person or to

the community and whether a sentence reduction is consistent with the policy

statement. U.S.S.G. § 1B1.13. This policy statement also defines “extraordinary

and compelling reasons” due to medical condition of the defendant as follows:

      (ii) The defendant is—

             (I) suffering from a serious physical or medical condition,

             (II) suffering from a serious functional or cognitive
             impairment, or

             (III) experiencing deteriorating physical or mental health
             because of the aging process,

      that substantially diminishes the ability of the defendant to provide
      self-care within the environment of a correctional facility and from
      which he or she is not expected to recover.

U.S.S.G. § 1B1.13, cmt. 1(A).


      Initially, Defendant had not demonstrated that he had exhausted his

administrative remedies, and the Court stayed the motion pending exhaustion.

Defendant has informed the Court that he made requests to the Warden for a

sentence reduction and that thirty days have passed with no response. The

government agrees that the exhaustion requirement has been met.




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      In his motion, Defendant asserts he is concerned for his health and safety

because of the COVID-19 pandemic and because staff and other inmates around

him have become sick. He also raises the concern that as an African American he

is susceptible to severe illness if he becomes infected with the corona-virus. He

further asserts he is in a unit that is under quarantine and has not been given

information as to what is happening around him. He asks that he be released to

home confinement. The government opposes the motion.

      The Court finds that Defendant has failed to show “extraordinary and

compelling reasons” to warrant relief. Defendant is 39 years old, and he has not

demonstrated or claimed that he suffers from any medical conditions, let alone a

medical condition that makes him susceptible to serious health risks if infected

with COVID-19. The mere existence of the COVID-19 pandemic, without more,

does not provide a basis for a sentence reduction. See United States v. Fry, Crim.

No. 11-141, 2020 WL 1923218, at *1 (D. Minn. Apr. 21, 2020).

      Further, the BOP has in place protocols such as social distancing, hygienic

and cleaning protocols and quarantining and treatment of inmates with

symptoms of COVID-19 and those who come into contact with them. See

www.bop.gov/coronavirus/index.jsp. As of October 15, 2020, the facility at



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which Defendant is housed, Yazoo City Low FCI, reports no current cases

involving inmates, and six current cases involving a staff member.

      Defendant has also failed to demonstrate that he is no longer a danger to

the community. Defendant was convicted of conspiracy to distribute more than

1,000 kilograms of a mixture and substance containing a detectable amount of

marijuana and 500 grams or more of a mixture and substance containing a

detectable amount of cocaine. Given his role in this offense conduct, Defendant

poses a danger to the community. See United States v. Cantu, 935 F.2d 950, 952

(8th Cir. 1991) (recognizing that large scale drug trafficking is a serious danger to

the community).


      A sentence reduction in this case would also be contrary to the factors set

forth in 18 U.S.C. § 3553(a). Notwithstanding Defendant’s claims to

rehabilitation while serving his prison sentence, the Court finds a sentence

reduction would not reflect the seriousness of the offense of conviction, promote

respect for the law or provide a just punishment. In addition, Defendant has not

yet served one half of his 144 month sentence, and a sentence reduction would

create unwarranted sentencing disparities among defendants and would not

afford adequate deterrence for the offense committed.


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      Finally, the Court finds that Defendant’s request for placement in home

confinement falls within the purview of the Bureau of Prisons. See 18 U.S.C. §

3621(b); see also United States v. Kluge, Crim. No. 17-61, 2020 WL 209287, at *3

(D. Minn. Jan. 14, 2020) (finding that nothing in the statutes amended by the First

Step Act permits a court to place a defendant in home confinement).


      IT IS HEREBY ORDERED that Defendant’s Motion For Early Release, or in

the Alternative Home Confinement, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) [Doc.

No. 444] is DENIED.


Date: October 19, 2020

                                             s/ Michael J. Davis
                                             Michael J. Davis
                                             United States District Court




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